, Case 1:01-cv-12257-PBS | . Document 7461-1 Filed 03/17/11 Page 1 of 1

CUSTOMER SERVICE INFORMATION ~ |

ADD75 00000258

CNA

HDaMusoobDaoDDoouHDandasDeotessE Doro Dl osossetba lool Your Medicare Number: S51-54-7893A
AGNES SWAYZE

1016 W NEWGROVE ST If you have questions, write or call:
LANCASTER CA 93534-3310 NHIC, Corp. (#31146)

P.O. Box 272857
Chico, CA 95927-2857

Call: 1-800-MEDICARE (1-800-633-4227)
Ask For Doctor Services

BE INFORMED: Protect your Medicare number TTY for Hearing Impaired: |-877-486-2045
as you would a credit card number.

This is a summary of claims processed on 02/26/2007.

PART B MEDICAL INSURANCE - ASSIGNED CLAIMS

Dates / , Medicare You See
of ‘Amount Medicare Paid May Be = Notes
Service Services Provided Charged Approved Provider - Billed Section

Claim number !3-07039-90 1-902 . .

Valley Tumor Med Grp, bcd
44105 15Th St West Sie 207, c
Luncaster, CA 93534-4088

Referred by: Dr. Yeganeh. Jchanguir. M.D.

Dr. Shamasunder. Hesaragha K.

|

| 03/07/03 1 Office/ouipatient visit, est (99211) $40, 00 $22.88 $18.30 $4.38 |

| 03/07/03 | Chemotherapy,infusion method (96410) 130.00 Oo. 00 0.00 0.00 a |

03/07/03 3 Dexamethasore sodium phos (J1 TOD) , 18.00 0.30 0.24 0.06 {

pf 03/07/03 32. Ondansetron hel injection (12405) 256.00 194.88 155.90 38.98 |
t 03/07/03 76 Carboplatin infection (39045) "2, 400. 0 2,175.52 1.740,42 733.10 l

O3/0TH3 1 (V infusion therapy, 1 hour (90780-39) 100, 00 0.00 0.00 0.00 a |

Claim Total $2,964.00 $2,393.58 $1,914.86 $478.72 |

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—— — Ss

PYEDS2

070303 THIS JS NOT A BILL - Keep this notice for your records.
